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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                  CASE NO. 1:24-CV-24066-CMA

   ALAN GUERECA, individually
   and on behalf of all others similarly situated,

                          Plaintiff,
           v.

   MOTORSPORT.TV DIGITAL, LLC,

                          Defendant.


        NOTICE OF MOTION FOR WITHDRAWAL OF ARUN G. RAVINDRAN AS
                          COUNSEL FOR PLAINTIFF

         Plaintiff, by and through the undersigned, hereby moves this Court to allow the

  undersigned to withdraw as counsel of record in this matter because he is leaving employment at

  Hedin LLP. Counsel at Hedin LLP will remain as counsel of record. Counsel for Defendant

  consents to the relief sought herein.

  Dated: January 31, 2025


                                             Respectfully Submitted,


                                             /s/ Arun G. Ravindran

                                             Arun Ravindran, FBN: 66247
                                             Hedin LLP
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